Case 1:20-cr-00015-JPJ-PMS Document 17 Filed 06/23/20 Page 1 of 2 Pageid#: 23
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                                                     W tSTERN DISTRICT OF W RGJNIA
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6(e),16,and 26.2,26U.S.C.jj6103(h)(4)(D)and (i)(k)(A),and the aizthozity oftheCourtto                           .




adm inisterproceedingsbeforeit,thattheUàited Statesbepermitted t? discloseto couhselforthe
defensè aspartofvotuntary discovery,grand jùry materials,tax rit'urzlinformation,'criminal
histories,medicalrecordj,Fitnessinterview re/orts,materialscovered by thePrivàcy Act,alld .
othermaterials. TheUnited Statesand defensé cotmselmay then use thismaterialfortv
prosectztion arld defens: ofthis case,respectively,and make suçh fartherdisclostlres
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necessaryfor,andforthesolepurposeof,prosecutinganddefendingthiscase. TheUzlitedjtates'
m oves for entry ofthe attached pfoposed Orderto cöverany and al1m atedalprovided by the

Urtited StatesAttorney'sOfficetp defense cotmsel. Theattached proposed Orderis'
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                                                                              intended to:

                    1. Advancethe ease;
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                         Protectthesecrecy.ofgrandjury,tax rettzrn,çriminalhiltories,mebicalrecords,,                                     .

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                         witnessinterview repotts,and otherm aterials'
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                         Prevent the tm authorizçd dissem ination of m aterials voluntarily prèvi
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                         Unitçd States,which diîsemination would endangetwitnesses,subjeqtthem tn
                         intim idation, chill their candor, violâte their privacy and im pede futtlre
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                         investigations;and
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         4. Providenoticeofsanctiopsintheeventthesem aterialsweredeliberately disclosed

            in an unquthorized mnnnerorto unauthorized persons.

                                             Respectfully subm itted,

                                             TH OM AS T.CU LLEN
                                             United StatesAttorney


                                             Zac ry .Lee
                                             Assistantunited StatçsA ttom ey
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